    Case: 23-11184     Document: 47        Page: 1     Date Filed: 01/30/2024




                               No. 23-11184

         IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


        UNITED STATES OF AMERICA, EX REL., ALEX DOE, Relator,
                                                     Plaintiff-Appellee,
                                      v.
    PLANNED PARENTHOOD FEDERATION OF AMERICA, INCORPORATED,
                                               Defendant-Appellant.


            On Appeal from the United States District Court
          for the Northern District of Texas, Amarillo Division
                   Civil Action No. 2:21-cv-00022-Z


MOTION TO EXTEND DEADLINE FOR DEFENDANT-APPELLANT’S
                   OPENING BRIEF

                     (Counsel listed on signature page)
        Case: 23-11184      Document: 47    Page: 2    Date Filed: 01/30/2024




                 CERTIFICATE OF INTERESTED PERSONS


      No. 23-11184, Doe v. Planned Parenthood Federation of America, Inc.

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Fifth Circuit Rule 28.2.1 have an

interest in the outcome of this case. These representations are made in order that the

judges of this Court may evaluate possible disqualification or recusal:

      Defendant-Appellant:

             Planned Parenthood Federation of America, Inc.
             Represented by O’Melveny & Myers LLP
                   Anton Metlitsky
                   Leah Godesky
                   Danny S. Ashby
                   L. Nicole Allan

      Plaintiff-Appellee:

             Relator Alex Doe
             Represented by Hacker Stephens LLP
                   Heather Gebelin Hacker
                   Andrew Bowman Stephens

      Other Parties:

             Defendant Planned Parenthood of Greater Texas, Inc.
             Defendant Planned Parenthood Gulf Coast, Inc.
             Defendant Planned Parenthood South Texas, Inc.
             Defendant Planned Parenthood Cameron County, Inc.
             Defendant Planned Parenthood San Antonio, Inc.
             Represented by Arnold & Porter Kaye Scholer LLP
                  Christopher M. Odell
                  Craig D. Margolis
                  Tirzah S. Lollar
Case: 23-11184    Document: 47     Page: 3     Date Filed: 01/30/2024




          Paula R. Ramer
          Alyssa Gerstner
          Christian Sheehan
          Emily Reeder-Ricchetti
          Megan Pieper
          Meghan Martin
          Marcus Asner
          Matthew Diton
          Valarie Hays
          Jayce Lane Born

    Represented by Law Office of Blackburn & Brown, LLP
         Ryan Patrick Brown

    Plaintiff State of Texas
    Represented by Office of the Attorney General
           Ken Paxton
           Amy S. Hilton
           William David Wassdorf

    United States of America, Real Party in Interest
    Represented by United States Attorney’s Office
          Kenneth G. Coffin
          J. Scott Hogan
          Jamie Yavelberg

    State of Louisiana, Real Party in Interest
    Represented by Office of the Louisiana Attorney General
           Joseph Scott St. John

                                             /s/ Anton Metlitsky
                                             Anton Metlitsky
        Case: 23-11184     Document: 47     Page: 4    Date Filed: 01/30/2024




      Pursuant to Fifth Circuit Rule 31.4, Defendant-Appellant Planned

Parenthood Federation of America, Inc. hereby moves to extend the deadline to file

its opening brief by 30 days, to March 13, 2024.

      1.     On January 2, 2024, this Court issued a briefing schedule setting a

deadline of February 12, 2024 for Appellant’s opening brief. Dkt. 25. Appellant

respectfully requests an extension of 30 days such that its brief would be due on

March 13, 2024.

      2.     Appellant has not previously sought an extension. And good cause

supports an extension here for at least two reasons. First, the undersigned (along

with Ms. Godesky) were fully occupied with a jury trial in the U.S. District Court

for the Central District of California between January 2 and January 17, 2024.

Malkin v. Fed. Ins. Co., No. 2:21-cv-00172-CAS-PD (C.D. Cal.). Then, on

January 19—two months after Appellant initiated its appeal and several weeks

before Appellant’s opening brief was due—Plaintiff-Appellee Alex Doe filed in

this Court a motion to dismiss this appeal for lack of jurisdiction, Dkt. 39, to which

Appellant was required to respond on January 29, Dkt. 43.

      3.     In light of the need to respond to Appellee’s jurisdictional motion, the

press of other unavoidable professional responsibilities, and the important legal

issues presented in this appeal, there is good cause for a 30-day extension of time.
        Case: 23-11184     Document: 47     Page: 5    Date Filed: 01/30/2024




      4.     Appellee opposes this motion, but would suffer no prejudice from a

short extension of the briefing schedule. For one thing, the district court has stayed

proceedings below, ROA.48279, so there is no impending trial date or other

important deadline implicated by this request. For another, Appellee’s own motion

to dismiss requested a stay in the briefing schedule. Dkt. 39 at 19.

      For these reasons, the motion for a 30-day extension to file Appellant’s

opening brief should be granted such that Appellant’s opening brief is due March

13, 2024.

      Dated: January 30, 2024


                                       Respectfully submitted,


                                            /s/ Anton Metlitsky
Danny S. Ashby                              Anton Metlitsky
O’MELVENY & MYERS LLP                       O’MELVENY & MYERS LLP
2801 N. Harwood Street                      7 Times Square
Dallas, TX 75201                            New York, NY 10036
Tel: (972) 360-1904                         Tel: (212) 326-2291
dashby@omm.com                              ametlitsky@omm.com

                                            Leah Godesky
                                            L. Nicole Allan
                                            O’MELVENY & MYERS LLP
                                            1999 Avenue of the Stars
                                            Los Angeles, CA 90067
                                            Tel: (310) 246-8501
                                            lgodesky@omm.com
                                            nallan@omm.com

    Counsel for Planned Parenthood Federation of America, Inc., Defendant-
                                 Appellant
        Case: 23-11184    Document: 47     Page: 6     Date Filed: 01/30/2024




                         CERTIFICATE OF SERVICE

      I hereby certify that on January 30, 2024, an electronic copy of the foregoing

document was filed with the Clerk of the Court for the United States Court of

Appeals for the Fifth Circuit and served on counsel for Respondent-Appellee using

the appellate CM/ECF system.


                                                           /s/ Anton Metlitsky
                                                           Anton Metlitsky



                     CERTIFICATE OF COMPLIANCE

      This document complies with the type-volume limit and the word limit of Fed.

R. App. P. 27(d)(2)(A) because, excluding the parts of the document exempted by

Fed. R. App. P. 32(f), this document contains 313 words.

      This document complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because it has

been prepared in a proportionally-spaced typeface using Microsoft Word in size 14

font in Times New Roman.

                                                     /s/ Anton Metlitsky
                                                     Anton Metlitsky
                                                     Counsel for Defendant-
                                                     Appellant Planned Parenthood
                                                     Federation of America, Inc.


                                                     Dated: January 30, 2024
